Case: 4:06-cr-00066-JCH   Doc. #: 108 Filed: 08/14/06   Page: 1 of 7 PageID #:
                                     192
Case: 4:06-cr-00066-JCH   Doc. #: 108 Filed: 08/14/06   Page: 2 of 7 PageID #:
                                     193
Case: 4:06-cr-00066-JCH   Doc. #: 108 Filed: 08/14/06   Page: 3 of 7 PageID #:
                                     194
Case: 4:06-cr-00066-JCH   Doc. #: 108 Filed: 08/14/06   Page: 4 of 7 PageID #:
                                     195
Case: 4:06-cr-00066-JCH   Doc. #: 108 Filed: 08/14/06   Page: 5 of 7 PageID #:
                                     196
Case: 4:06-cr-00066-JCH   Doc. #: 108 Filed: 08/14/06   Page: 6 of 7 PageID #:
                                     197
Case: 4:06-cr-00066-JCH   Doc. #: 108 Filed: 08/14/06   Page: 7 of 7 PageID #:
                                     198
